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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Kaleigh R. Dittus and Courtney A. Snyder, )         Civil Action No. 3:14-cv-00300-JFA
both individually and on behalf of all    )
other similarly situated individuals,     )
                                          )
                Plaintiffs,               )
        vs.                               )         FINAL ORDER OF SETTLEMENT
                                          )          APPROVAL AND DISMISSAL
K.E.G., Inc., d/b/a Heart Breakers        )
Gentlemen’s Club; Shadow Management )
Company, Inc., d/b/a Platinum Plus        )
(Columbia); Splash, Inc., d/b/a           )
Platinum Plus (Columbia); Elephant, Inc., )
d/b/a Platinum Plus (Greenville);         )
KWE Group, LLC; KWON LLC, d/b/a           )
Platinum West; Gregory Kenwood            )
Gaines a/k/a Ken Wood, and                )
David A. Henson, a/k/a Kevin Ford,        )
                                          )
                                          )
                Defendants.               )
____________________________________)

       This matter is presently before the Court on Plaintiffs’ Assented-to Motion for Settlement

Approval (ECF No. 143) and Plaintiffs’ Motion for Attorney Fees (ECF No. 144). The Court

conducted a hearing on both Motions on July 28, 2015. Representing Plaintiffs during the

hearing were attorney David E. Rothstein, who appeared in person, and attorneys Harold Lichten

and Matthew Thomson, who participated by telephone conference. Present for Defendants were

attorneys D. Christopher Lauderdale and Sandi R. Wilson.

       The Court thoroughly reviewed the written submissions by Plaintiffs’ counsel prior to the

hearing. During the hearing, the Court received additional arguments and statements of counsel

and also questioned both named Plaintiffs, class representatives Kaleigh Dittus and Courtney

Snyder, about the terms of the settlement. For the reasons stated by the Court on the record at

the conclusion of the hearing, both Motions are granted in their entirety.        The proposed
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settlement of the Plaintiffs’ and opt-in class members’ Fair Labor Standards Act claims is

approved as fair, reasonable, and adequate. In addition, the proposed award of attorneys’ fees

and costs as requested in Plaintiffs’ Motion for Attorneys’ Fees and Costs (ECF No. 144) is fair,

reasonable, and justified by the result obtained for the named Plaintiffs and opt-in Plaintiffs in

this matter.

       All other pending motions are denied as moot, all pending claims of the two named

Plaintiffs and 59 opt-in class members in this action are hereby dismissed with prejudice, and the

clerk is directed to enter a judgment, attached hereto as Exhibit A. Plaintiffs have withdrawn

their motion for class certification under Rule 23, and the state-law claims asserted on behalf of

any absent members of the putative class are hereby dismissed without prejudice.      Further, the

preliminary injunction entered on May 1, 2014 (ECF No. 42) is hereby dissolved. This Order is

final and binding on the following individuals:


       1.      Kaleigh R. Dittus
       2.      Courtney A. Snyder
       3.      Samantha Botten
       4.      Alicia Brown
       5.      Jasmine Lakis
       6.      Alaina Pitt
       7.      Noel Peterson
       8.      Albina V. Farris
       9.      Atea Hopper
       10.     Chelsea Kuettel
       11.     Krystal King
       12.     Adriene N. Griffis
       13.     Heather Chavis

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 14.   Morgan Cruse
 15.   Bonnie Lindler
 16.   Jordan McCurry
 17.   Bailey Noles
 18.   Nicole Phillips
 19.   Kaitlyn Skyrme
 20.   Jennifer Sullivan
 21.   Elizabeth Gaines
 22.   Audrey Lee
 23.   Ashley Cring
 24.   Jessica Ferst
 25.   Frankie Henderson
 26.   Brittany Yontz
 27.   Courtney Hopper
 28.   Michelle Kolben
 29.   Schuyler Andrulat
 30.   Pamela Branch
 31.   Chancey Byrd
 32.   Kourtni Greene
 33.   April Lineberry Hayes
 34.   Christine Hunter
 35.   Ashley Joye
 36.   Cayla Lance
 37.   Terre Lewis
 38.   Shawna Morrow
 39.   Hailey Poellien
 40.   Arraqueida Roman


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       41.     Carly Strohbach
       42.     Kayla West
       43.     Keree Jo Francis Domrose
       44.     Miranda Graham
       45.     Victoria Shade
       46.     Sheleen Buchanan
       47.     Sandra Barrs
       48.     Sarah Locke
       49.     Tracie Adams
       50.     Melissa Gregory
       51.     Elizabeth Halicki
       52.     Jill Knobloch
       53.     Anna M. Stanley
       54.     Latoya R. Hinson
       55.     Ema L. Cox
       56.     Heidi Doro
       57.     Tina Warden
       58.     Amber Gant
       59.     Ashley Pettigrew
       60.     Elizabeth Allen
       61.     Josie Paxton

       If any class member cannot be located after a reasonably diligent search by Plaintiffs’

counsel after 120 days from the date of this Order, their share of the settlement shall be paid to

the Women’s Shelter of Columbia, South Carolina, as a cy pres beneficiary. This dismissal with

prejudice is final and binding as to each named Plaintiff and opt-in class member listed above,

without regard to whether such individuals are located or accept payment under the settlement.


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         With regard to Stephanie Siders and Olivia Holbrook, whose Consent Forms to join the

case were filed after the hearing, their claims are hereby dismissed without prejudice. The Court

will retain jurisdiction only over these two individuals’ claims for sixty (60) days to allow the

parties to consummate the settlement according to the terms of the Settlement Agreement

approved by the Court. If no party takes any additional action to enforce the terms of the

settlement as to these two individuals prior to the expiration of the 60-day period, the dismissal

of their claims will automatically become with prejudice sixty (60) days from the date of this

Order.


         IT IS SO ORDERED.


         July 31, 2015                                      Joseph F. Anderson, Jr.
         Columbia, South Carolina                           United States District Judge




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